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                                              L.B.F. 3015.1

                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNSYLVANIA

In re: GERALDINE A. HALL                          Case No.:        19-10127-ELF

                                                  Chapter:        13

                  Debtor(s)
                                          Chapter 13 Plan

            Original
         x Third             Amended

Date:     January 30, 2020

                               THE DEBTOR HAS FILED FOR RELIEF UNDER
                                CHAPTER 13 OF THE BANKRUPTCY CODE

                                   YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
This Plan may be confirmed and become binding, unless a written objection is filed.

                   IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                  MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                               NOTICE OF MEETING OF CREDITORS.

 Part 1: Bankruptcy Rule 3015.1(c) Disclosures

          Plan contains non-standard or additional provisions – see Part 9
          Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
          Plan avoids a security interest or lien – see Part 4 and/or Part 9

 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN
 EVERY CASE
        § 2(a)(1) Initial Plan:
           Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ ______________
            Debtor shall pay the Trustee $ _________ per month for ____ months; and
            Debtor shall pay the Trustee $ _________ per month for ____ months.
           Other changes in the scheduled plan payment are set forth in § 2(d)

      § 2(a)(2) Amended Plan:
                                                                                  42,309.69
         Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ ______________
                                                                                          2,700.00
      The Plan payments by Debtor shall consists of the total amount previously paid ($_______)
                                                             300.03             Feb 22, 2020
 added to the new monthly Plan payments in the amount of $______ beginning __________(date) and
                 3
 continuing for ______ months. Added to the new monthly Plan Payments of $806.45 beginning May 22, 2020
        Other changes in the scheduled plan payment are set forth in § 2(d) for 48 months.


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      § 2(b) Debtor shall make plan payments to the Trustee from the following sources in
 addition to future wages (Describe source, amount and date when funds are available, if
 known): N/A



     § 2(c) Alternative treatment of secured claims:
             None. If “None” is checked, the rest of § 2(c) need not be completed.

             Sale of real property
             See § 7(c) below for detailed description

             Loan modification with respect to mortgage encumbering property:
             See § 4(f) below for detailed description

     § 2(d) Other information that may be important relating to the payment and length of Plan:


     § 2(e) Estimated Distribution:
        A. Total Priority Claims (Part 3)
              1.   Unpaid attorney’s fees                                 $
              2.   Unpaid attorney’s costs                                $
              3.   Other priority claims (e.g., priority taxes)           $
         B. Total distribution to cure defaults (§ 4(b))                  $
         C. Total distribution on secured claims (§§ 4(c) &(d))           $
         D. Total distribution on unsecured claims (Part 5)               $ 38,079.49
                                              Subtotal                    $ 38,079.49
         E. Estimated Trustee’s Commission                                $
         F. Base Amount                                                   $ 42, 309.69

 Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)


     § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full
 unless the creditor agrees otherwise:

  Creditor                             Type of Priority                       Estimated Amount to be Paid




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      § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid
 less than full amount.

       X None. If “None” is checked, the rest of § 3(b) need not be completed.

           The allowed priority claims listed below are based on a domestic support obligation that has been
  assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
  provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


   Name of Creditor                                                    Amount of claim to be paid




 Part 4: Secured Claims


      § 4(a) Secured claims not provided for by the Plan:
             None. If “None” is checked, the rest of § 4(a) need not be completed.
  Creditor                                                   Secured Property

      If checked, debtor will pay the creditor(s) listed below
  directly in accordance with the contract terms or otherwise by
  agreement.



      If checked, debtor will pay the creditor(s) listed below
  directly in accordance with the contract terms or otherwise by
  agreement.




      § 4(b) Curing default and maintaining payments
        X None. If “None” is checked, the rest of § 4(b) need not be completed.
      The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor
   shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance with the
   parties’ contract.

    Creditor              Description of          Current Monthly           Estimated     Interest Rate   Amount to be
                          Secured                 Payment to be             Arrearage     on Arrearage,   Paid to
                          Property and            paid directly to                        if applicable   Creditor by
                          Address, if real        creditor by                             (%)             the Trustee
                          property                Debtor




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     § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-
 confirmation determination of the amount, extent or validity of the claim
        X None. If “None” is checked, the rest of § 4(c) need not be completed.

         (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion
 of payments under the plan.

            (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
 determine the amount, extent or validity of the allowed secured claim and the court will make its determination
 prior to the confirmation hearing.

         (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
 unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

           (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided
 for “present value” interest, the claimant must file an objection to confirmation.

          (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim
 and release the corresponding lien.


                           Description of
  Name of Creditor         Secured Property           Allowed            Present     Dollar Amount       Total
                           and Address, if real       Secured            Value       of Present          Amount to
                           property                   Claim              Interest    Value Interest      be paid
                                                                         Rate




      § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
      X None. If “None” is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase
 money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1
 year of the petition date and secured by a purchase money security interest in any other thing of value.

       (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of
 payments under the plan.

          (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim, the court will determine the present value
 interest rate and amount at the confirmation hearing.

 Name of Creditor            Collateral         Amount of          Present Value      Estimated total payments
                                                Claim              Interest
                                                                            %         $

                                                                              %       $




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      § 4(e) Surrender
             None. If “None” is checked, the rest of § 4(e) need not be completed.

             (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
             (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property
 terminates upon confirmation of the Plan.
             (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

  Creditor                                                     Secured Property
  Bank of America                                              307 Fox Trail
                                                               Parksburg, PA 19365




      § 4(f) Loan Modification
        X None. If “None” is checked, the rest of § 4(f) need not be completed.
        (1) Debtor shall pursue a loan modification directly with                      or its successor in interest or its
  current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.

        (2) During the modification application process, Debtor shall make adequate protection payments directly to
  Mortgage Lender in the amount of $            per month, which represents                        (describe
  basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
  Mortgage Lender.

        (3) If the modification is not approved by               (date), Debtor shall either (A) file an amended Plan to
  otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the
  automatic stay with regard to the collateral and Debtor will not oppose it.



 Part 5: General Unsecured Claims

      § 5(a) Separately classified allowed unsecured non-priority claims
        X None. If “None” is checked, the rest of § 5(a) need not be completed.

                             Basis for Separate
  Creditor                   Classification             Treatment                    Amount of           Amount to
                                                                                     Claim               be paid




      § 5(b) Timely filed unsecured non-priority claims
            (1) Liquidation Test (check one box)
                    All Debtor(s) property is claimed as exempt.
                 X Debtor(s) has non-exempt property valued at $ 78,636.81 for purposes of § 1325(a)(4) and plan
 provides for distribution of $ 38,079.49            to allowed priority and unsecured general creditors.

              (2) Funding: § 5(b) claims to be paid as follows (check one box):
                   Pro rata
                 X 100%
                   Other (Describe)



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 Part 6: Executory Contracts & Unexpired Leases


          None. If “None” is checked, the rest of § 6 need not be completed.

  Creditor                             Nature of Contract or Lease          Treatment by Debtor Pursuant to §365(b)

  Santander Consumer USA Inc.
  d/b/a/ Chrysler Capital     Lease for 2018 Jeep Rambler                   Assume Lease and Pay According To
                                                                            Terms of Agreement
                                                                             Unsecured per POC $20,584.80
                                                                             Monthly Lease Payment $541.62
                          Payments made directly to Creditor outside of Plan

 Part 7: Other Provisions

      § 7(a) General principles applicable to the Plan
         (1) Vesting of Property of the Estate (check one box)
                  X Upon confirmation
                     Upon discharge

         (2) Subject to Bankruptcy Rule 3012, the amount of a creditor’s claim listed in its proof of claim controls
 over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

          (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
 1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors
 shall be made by the Trustee.

          (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
 the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
 be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
 creditors, or as agreed by the Debtor and the Trustee and approved by the court.

     § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s
 principal residence

         (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
 arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
 obligations as provided for by the terms of the underlying mortgage note.

         (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
 purpose of precluding the imposition of late payment charges or other default-related fees and services based on
 the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
 terms of the mortgage and note.

         (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
 Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the
 holder of the claims shall resume sending customary monthly statements.

         (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon
 books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
 book(s) to the Debtor after this case has been filed.

        (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon
 books as set forth above.



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     § 7(c) Sale of Real Property
        X None. If “None” is checked, the rest of § 7(c) need not be completed.

        (1) Closing for the sale of                                  (the “Real Property”) shall be completed within
 months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise agreed by the
 parties or provided by the Court, each allowed claim secured by the Real Property will be paid in full under §4(b)(1)
 of the Plan at the closing (“Closing Date”).

        (2) The Real Property will be marketed for sale in the following manner and on the following terms:




          (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
 customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
 convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
 seeking court approval of the sale of the property free and clear of liens and encumbrances pursuant to 11 U.S.C.
 §363(f), either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such approval is necessary or
 in order to convey insurable title or is otherwise reasonably necessary under the circumstances to implement this
 Plan.

        (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the
 Closing Date.

        (5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale
 Deadline:




  Part 8: Order of Distribution

 The order of distribution of Plan payments will be as follows:

      Level 1:   Trustee Commissions*
      Level 2:   Domestic Support Obligations
      Level 3:   Adequate Protection Payments
      Level 4:   Debtor’s attorney’s fees
      Level 5:   Priority claims, pro rata
      Level 6:   Secured claims, pro rata
      Level 7:   Specially classified unsecured claims
      Level 8:   General unsecured claims
      Level 9:   Untimely filed general unsecured non-priority claims to which debtor has not objected

 *Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
 not to exceed ten (10) percent.




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 Part 9: Non Standard or Additional Plan Provisions

    Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable
    box in Part 1 of this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan
    are void.

     X None. If “None” is checked, the rest of Part 9 need not be completed.




   By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no
 nonstandard or additional provisions other than those in Part 9 of the Plan.



          January 30, 2020                                    s/s Christopher C. Carr, Esquire
 Date:
                                                              Attorney for Debtor(s)


         If Debtor(s) are unrepresented, they must sign below.



 Date:
                                                              Debtor


 Date:
                                                              Joint Debtor




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